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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 KELLY SCHULTZ, individually and on
 behalf of all others similarly situated
                                                  Case No. 09-cv-02813-DWF-DTS
              Plaintiff,
                                                           STIPULATION
 v.

 NATIONS INFO. CORP., a California
 corporation

              Defendant.



       Pursuant to Federal Rule of Civil Procedure 6(b), it is hereby stipulated and agreed

by Plaintiff Kelly Schultz and Defendant Nations Info. Corp. (“NIC”), through their

undersigned counsel, as follows:

       1.     The Parties agree that NIC’s deadline to respond to Plaintiffs’ Complaint

shall be January 24, 2020;

       2.     The Parties request that the Court enter the Proposed Order filed herewith

extending NIC’s deadline to respond.

                                          Respectfully submitted,

Dated: December 20, 2019                  s/Ryan Peterson
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                             *Pro Hac Vice motion forthcoming




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